                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:14-cv-00990-RBJ

RHONDA NESBITT, individually and on behalf of all others similarly situated,

Plaintiff,

v.

FCNH, INC., VIRGINIA MASSAGE THERAPY, INC., MID-ATLANTIC MASSAGE
THERAPY, INC., STEINER EDUCATION GROUP, INC., STEINER LEISURE LTD., SEG
CORT LLC, doing business as the “Steiner Education Group,”


Defendants.


                     PLAINTIFF’S FILING OF AMENDED COMPLAINT
              PURSUANT TO COURT’S MINUTE ORDER OF MARCH 10, 2016



Plaintiff through counsel of record hereby files her Amended Complaint pursuant to the Court’s

Minute Order of March 10, 2016, attached as Exhibit 1.

        Respectfully submitted and, dated this 28th day of April, 2016.


                                             s/ David H. Miller
                                             _____________________________
                                             David H. Miller
                                             Heather Joyce
                                             SAWAYA & MILLER LAW FIRM
                                             1600 Ogden Street
                                             Denver, CO 80218
                                             Telephone: 303-839-1650 x 1090
                                             Fax: 720-235-4380
                                             Email: DMiller@sawayalaw.com
                                             Email: HJoyce@sawayalaw.com
                                             Attorneys for Plaintiffs
                                 CERTIFICATE OF SERVICE

        The undersigned certifies that on this 28th day of April, 2016, a true and correct copy of
the foregoing documents and attachments was electronically filed with the Clerk of the Court
using the CM/ECF system which will send notification of such filing to the following e-mail
address:

To:    Jeffrey Max Lippa
       LippaJ@gtlaw.com

       Todd Wozniak
       wozniakt@gtlaw.com


       Scott David Segal
       ssegal@myhrattorney.com
       scott@sdsegallaw.com

       Counsel for Defendants


                                                      s/David H. Miller

                                                      David H. Miller
